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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

                                        )
  UNITED STATES OF AMERICA,             )
                                                    Civil Action No.
                                        )
                                              2:16-cv-14050 (MAG) (RSW)
             Plaintiff,                 )
                                        )
                                                     District Judge:
       v.                               )
                                                Hon. Mark A. Goldsmith
                                        )
  QUICKEN LOANS INC.,                   )
                                                   Magistrate Judge:
                                        )
                                                 Hon. R. Steven Whalen
             Defendant.                 )
                                        )

             UNITED STATES’ RESPONSE TO THE COURT’S
              ORDER REGARDING SEALED DOCUMENTS
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       Pursuant to the Court’s December 21, 2020 Order Regarding Sealed

 Documents (ECF No. 364) and the Court’s subsequent orders (ECF Nos. 366, 368),

 the United States respectfully submits there is good cause for the Court to maintain

 a portion of the seal of ECF Nos. 176-186, 188-288, 292-347, and 350-355, in

 particular to protect non-parties’ sensitive financial and other personal information

 in the records.

       The United States understands from conferring telephonically with Quicken

 Loans Inc. (Quicken) on January 7 and 8, 2021 that Quicken intends to file

 objections based on jurisdiction and the burden on the parties required to identify

 and redact individual documents for unsealing. The United States opposes both of

 those objections. The United States agrees that the time and workload for the parties

 to complete redactions of the voluminous records will be substantial but recognizes

 and supports the strong public interest in the openness of court records and judicial

 proceedings. See 28 C.F.R. § 50.9(b) (“A Government attorney has a compelling

 duty to protect the societal interest in open proceedings.”).

       To maintain an orderly process and minimize the burden on the parties, the

 United States therefore requests that the Court rule on any blanket objection from

 Quicken to unsealing the records, and, if that objection is not sustained, allow the

 parties 90 days to identify and move to seal particular documents, or portions thereof,

 with the specific analysis and supporting materials required by Local Rule 5.3. The



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 United States also respectfully requests that the Court order the parties to exchange

 their respective proposed redactions at least 45 days before the due date for filing

 motions to seal so that the parties may meet and confer.

       The United States expects to move for sealing of its loan exhibits, L1 to L45

 at ECF Nos. 286-288, in their entirety to protect non-parties’ sensitive financial and

 other personal information and intends to move for sealing in part of its other filings

 so that they may be redacted largely for that same purpose. The United States

 understands Quicken intends to similarly redact sensitive personal information in all

 of its filings and may also pursue other redactions. The United States submits a

 proposed order with this filing to allow an orderly procedure for that to occur.

                                    DISCUSSION

       In February and March 2019, in connection with motions for summary

 judgment and motions to limit or exclude expert testimony, the United States and

 Quicken filed briefing and exhibits under a provisional seal pursuant to the Court’s

 Order Regarding Scheduling (ECF No. 175). The case settled in June 2019 prior to

 adjudication of the motions, and the action was dismissed with prejudice on June 14,

 2019 (ECF No. 363). In the underlying action, the United States alleged that

 Quicken knowingly submitted, or caused to be submitted, false or fraudulent claims

 for payment of insurance benefits by the U.S. Department of Housing and Urban

 Development’s (HUD) Federal Housing Administration (FHA) when certain FHA-



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 insured loans defaulted. As the alleged conduct centered on mortgages that the

 United States contended did not meet FHA underwriting requirements, many of the

 documents at issue in the litigation concern specific loans, specific borrowers, loan

 underwriting documentation, and the respective mortgagors’ financial and personal

 circumstances.     Non-parties’ sensitive personal information is also present in

 internal Quicken emails and documents, transcripts of testimony, expert reports and

 disclosures, and correspondence between HUD and Quicken that were cited in

 support of the parties’ motions. The United States therefore intends to move for an

 order maintaining the seal as to the United States’ previous filings that contain such

 information and to file redacted versions with that information redacted. See

 generally Fed. R. Civ. P. 5.2; 5 U.S.C. § 552a; see also Hamama v. Adducci, No.

 17-cv-11910, 2018 U.S. Dist. LEXIS 181488, at *22 (E.D. Mich. Oct. 23, 2018)

 (Goldsmith, J.).

       For one category of the United States’ exhibits, the loan exhibits (L1 to L45

 at ECF Nos. 286-288), the United States intends to move for an order sealing the

 filings in whole because the documents are replete with sensitive financial and other

 personal information about individual borrowers, and, in some cases, the borrowers’

 non-borrowing spouses and other family members.             The United States also

 anticipates seeking the sealing of portions of its other filings to protect sensitive

 personal information in the record and anticipates supporting redactions by Quicken



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 for that same purpose. The United States may also propose additional limited

 redactions to protect HUD’s enforcement interests and may support Quicken in

 proposing redaction of information that Quicken establishes qualifies for trade secret

 protection.

       The United States opposes any blanket request for continued sealing of the

 record in this case, as there is “a ‘strong presumption in favor of openness’ as to

 court records[,]” Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d

 299, 305 (6th Cir. 2016) (quoting Brown & Williamson Tobacco Corp. v. FTC, 710

 F.2d 1165, 1179 (6th Cir. 1983)), cited in United States v. Fazzi Assocs., Inc., No.

 19-4240, 2020 U.S. App. LEXIS 38152, at *1 (6th Cir. Dec. 7, 2020), and a party

 seeking to overcome that presumption bears a heavy burden, as “[o]nly the most

 compelling reasons can justify non-disclosure of judicial records[,]” Shane Grp.,

 Inc., 825 F.3d at 305 (quoting In re Knoxville News-Sentinel Co., 723 F.2d 470, 476

 (6th Cir. 1983)) (internal quotation marks omitted). The United States also does not

 contest the Court’s jurisdiction to manage its docket by unsealing documents that

 ought not to remain sealed.

                                   CONCLUSION

       The United States respectfully requests that the Court order the parties to file

 motions to seal pursuant to Local Rule 5.3 within 90 days of the issuance of its order

 ruling on Quicken’s blanket objections to unsealing the Court record and that it



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 further order the parties to exchange proposed redactions at least 45 days before the

 due date for filing motions to seal. The United States further requests that the Court

 maintain the seal on the records (ECF Nos. 176-186, 188-288, 292-347, and 350-

 355) and sets forth in the enclosed proposed order a proposed procedure for re-filing

 of the records sought to be sealed in part and records that are not to be sealed. The

 parties concur on a 90-day time frame to file motions to seal, but at this time Quicken

 does not otherwise agree with the United States’ proposed procedure and has not

 proposed an alternative.

                                           Respectfully submitted,

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                               Local Rule Certification

       I hereby certify that the foregoing complies with Local Rule 5.1(a), including:

 double-spaced (except for quoted materials and footnotes); at least one-inch margins

 on the top, sides, and bottom; consecutive page numbering; and type size of all text

 and footnotes that is no smaller than 10-1/2 characters per inch (for non-proportional

 fonts) or 14 point (for proportional fonts).


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                               Certificate of Service

       I hereby certify that on January 26, 2021, a copy of the foregoing was served

 by electronic means via the Court’s CM/ECF System on all counsel registered to

 receive electronic notices.


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